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                         Exhibit J
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                   California Secretary of State
                   Electronic Filing                                                    Secretary of State
                                                                                        State of California


 Corporation - Statement of Information
                                  Entity Name:       OPTUM360 SERVICES, INC.



                        Entity (File) Number:        C3624195
                                        File Date:   11/11/2021
                                    Entity Type:     Corporation
                                    Jurisdiction:    DELAWARE
                                   Document ID:      GY36661

 Detailed Filing Information

 1. Entity Name:                                          OPTUM360 SERVICES, INC.


 2. Business Addresses:
     a. Street Address of Principal
          Office in California:




     b. Mailing Address:                                  11000 Optum Circle
                                                          Eden Prairie, Minnesota 55344
                                                          United States of America

     C.   Street Address of Principal
          Executive Office:                               11000 Optum Circle
                                                          Eden Prairie, Minnesota 55344
                                                          United States of America                         """"
                                                                                                           (0
 3. Officers:                                                                                              (0
                                                                                                           (0
                                                                                                           ('f)
    a. Chief Executive Officer:                           Paul Matthew Emerson                             >-
                                                                                                           C,
                                                          13625 Technology Drive
                                                          Eden Prairie, Minnesota 55344
                                                          United States of America
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    b. Secretary:                                                                                          E
                                                          Peter J Martin
                                                                                                           :::J
                                                          11000 Optum Circle                               0
                                                                                                           0
                                                          Eden Prairie, Minnesota 55344                    Cl
                                                          United States of America
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                  California Secretary of State
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 Officers (cont'd):
      c. Chief Financial Officer:
                                                           Eric M Peterson
                                                           11000 Optum Circle,MN101-W013
                                                           Eden Prairie, Minnesota 55344
                                                           United States of America

 4. Director:                                              Not Applicable



      Number of Vacancies on the Board of
      Directors:                                           Not Applicable

 5.   Agent for Service of Process:
                                                           C T CORPORATION SYSTEM
                                                           (C0168406)



 6. Type of Business:                                      Healthcare Data & Consulting Services




      By signing this document, I certify that the information is true and correct and that I am authorized by
      California law to sign .




      Electronic Signature:   Kelly Lettmann



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